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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

  UNITED STATES OF AMERICA,                      CASE NO. 1:20-CR-10098-WGY

                 Plaintiff,
           v.

  BRIAN GILBERT,

                 Defendant.


                     NOTICE OF CHANGE OF FIRM ASSOCIATION

TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that effective January 1, 2021, the undersigned counsel for

Defendant Brian Gilbert hereby provides notice that Miranda Kane is no longer affiliated with

Kane+Kimball LLP. Miranda Kane is now affiliated with the law firm of Conrad | Metlitzky |

Kane LLP. The docket should be updated to reflect that her new contact information is as

follows:
                      Miranda Kane
                      CONRAD | METLITZKY | KANE LLP
                      Four Embarcadero Center, Suite 1400
                      San Francisco, CA 94111
                      Telephone: (415) 343-7100
                      Facsimile: (415) 343-7101
                      Email: mkane@conmetkane.com


DATED: February 11, 2021                           Respectfully submitted,

                                                   CONRAD | METLITZKY | KANE LLP




                                                   MIRANDA KANE
                                                   Attorney for Defendant Brian Gilbert
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-participants on January 18, 2021.




                                                      MIRANDA KANE
